Case 6:13-cv-06152-EAW-I\/|WP Document 153 Filed 03/01/18 Page 1 of 1

UNITED STATES DISTRICT COUR'I`
WESTERN DISTRICT OF NEW YORK

 

 

ROXANNE WILLIAl\/IS,
Individually, and as the Administrator of the
Estate of Hayden Blackman, Deceased, ORDER and
REPORT & RECOMMENDATION
Plaintiff,
13-CV-6152W
v.

CITY OF ROCHESTER, et al.,

Defendants.

 

On November 9, 2017, plaintiff Roxanne Williams (“Williams”) filed a motion to
amend the complaint and to unseal grand jury minutes1 (Docket # 141), Which the defendants
opposed (Docket # 142). Having reviewed the parties’ submissions, and oral argument having
been conducted on February 27, 2018, for the reasons stated more fully on the record on
February 27, 2018, l recommend that the district court deny Williams’s motion to amend
(Docket # 141). lt is further,

ORDERED, for the reasons stated more fully on the record on February 27, 2018,
that Williams’s motion to unseal grand jury minutes (Docket # 141) is DENIED.

IT IS S() ORDERED.

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MARIAN W. PAYSON
United States Magistrate Judge
Dated: Rochester, Nevv York
l\/[arch i , 2018

 

1 Williams’s motion also requested an order that certain facts set forth in the requests for admission she
propounded to defendants be deemed admitted (Docket # 141). That portion of the motion previously Was denied
by this Court. (Docket # 151).

